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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division



   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,

                             Plaintiffs,     Civil Action No. 3:17-cv-00072-NKM

    v.

    JASON KESSLER, et al.,

                             Defendants.




         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL AND FOR
                 SANCTIONS AGAINST DEFENDANT JAMES FIELDS
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                                              ARGUMENT

            Fields’s opposition brief makes a variety of half-hearted, unsupported, or outright false

  excuses to try to get out of his sanctionable spoliation and near-total failure to engage in

  discovery. As detailed below, Fields makes up some convenient facts, ignores others, and

  conjures excuses that make no sense. His opposition is unsupported by law or facts. He does not

  cite a single case or statute – let alone one that absolves him of sanctions. He does not dispute or

  attempt to distinguish any of the law cited in Plaintiffs’ opening brief. And, he cites no exhibits,

  nor does he attach a single piece of evidence that would support his arguments. That is because

  there are none, and the Court should grant Plaintiffs’ motion and order sanctions against Fields.1

  I.        FIELDS HAS NOT COMPLIED WITH DISCOVERY.

            Fields starts his brief with the amazing assertion that he “complied with his discovery

  obligations.” ECF No. 686, p. 2. That is completely and demonstrably untrue.

            Perhaps the most obvious example of Fields’s non-compliance is that he admitted to

  spoliating evidence while he had an obligation to preserve it – namely, correspondence he

  destroyed, including cards he received from Vanguard America. Id., p. 5. Destroying evidence

  and depriving Plaintiffs of its use is not “compl[ying] with his discovery obligations.” Id., p. 2.

            Fields devotes much of his opposition to explaining that he does not have access to his

  electronic devices that were collected by law enforcement. Id., pp. 2-4. But nowhere in

  Plaintiffs’ motion did they demand such devices. Plaintiffs obviously understand Fields cannot

  produce what he does not have. The problem with Fields’s discovery conduct, however, is that

  he refuses to provide discovery he does have.




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      Fields’s opposition brief lacks any page numbers, but it appears to be missing a page.
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         Where are his interrogatory answers? Fields claims he “timely answered Plaintiff’s . . .

  Second Interrogatories” (Id., p. 2), but that is patently false. As Plaintiffs explained in their

  opening brief, Fields served his “responses” more than two months late and they are still

  incomplete. ECF No. 671, p. 5. Even worse, they are not responses at all, because Fields’s

  counsel answered them without showing them to or communicating with Fields, and Fields never

  signed them. Id. To this day, Fields has yet to answer those interrogatories.

         Where are the names of all his social media accounts? Fields had an Instagram,

  YouTube, Discord, and additional Twitter accounts, but refuses to identify them. Id., p. 3; ECF

  No. 671-3, pp. 10-11. Where is his social media login information? Fields contends he does not

  remember it, but (if true) that is because his counsel did not ask for it until two years after this

  case began. ECF No. 671, p. 3.2 The fact that, because so much time has passed, he allegedly

  has forgotten them is precisely why sanctions are appropriate. Fields’s delay has caused

  Plaintiffs not to have access to his documents.

         Where are the documents his attorneys do have? Black letter law (which Fields does not

  even try to refute) holds he must produce such documents, yet Fields refuses to produce any

  documents in his attorneys’ possession. Id., p. 16. Fields also refuses to produce documents

  unless he created them (a nonsensical and legally unsupported position), and refuses to produce

  documents unless they specifically concern the Rally (another unsupportable legal position) –




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    Fields argues he did not provide his passwords because “Plaintiff’s First Request for Production
  of Documents did not include any requests for passwords, only usernames.” ECF No. 686, pp.
  2-3. He ignores, however, that the ESI Order and Social Media Order require him to provide that
  information. ECF No. 383, p. 8; ECF No. 582, p. 2. And, in any event, he still has not provided
  usernames, which he admits he was required to produce. ECF No. 671, pp. 6-7; ECF No. 671-3,
  pp. 10-11.
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  even if they are relevant and responsive to discovery. Id., pp. 14-15. If he has no such

  documents, why is he objecting to produce them?

         Fields also offers no plausible explanation for his position that the Court’s orders

  directing “defendants” to provide discovery do not apply to him. His only argument is that he

  “has never been mentioned” during the hearings on those orders. ECF No. 686, p. 3. But the

  Court’s discovery orders explicitly apply to Fields. The ESI Order directed all “Defendants” to

  provide discovery and ordered Fields to negotiate “the timing to be applied to Defendant Fields”

  to comply with the order. ECF No. 383, pp. 7-8 & n.2 (emphasis added). The Social Media

  Order applies to “each Defendant” and specifically noted “all represented Defendants” (i.e.,

  including Fields) appeared by telephone to discuss the Social Media Order. ECF No. 582

  (emphases added). And, the Scheduling Order applies to every party in the case. ECF No. 597.

  Fields’s argument should be rejected.

         Fields next makes the nonsensical argument that, because he was incarcerated, “Fields

  immediately became unable to . . . log in to his accounts.” ECF No. 686, p. 3. This completely

  ignores the obvious solution that his attorney could have immediately obtained Fields’s login

  credentials, accessed those accounts, and produced the required information. Indeed, his

  attorney was required to do that. It is black letter law that a party’s attorney has an obligation to

  ensure documents are thoroughly collected, and the attorney cannot rely solely on the client to

  collect responsive documents. See, e.g., Jones v. Bremen High Sch. Distr. 228, 2010 WL

  2106640, *7 (N.D. Ill. 2010) (holding it is unreasonable for a party to decide what is relevant,

  especially when it has “the ability to permanently delete unfavorable email”); Pension Comm. of

  the Univ. of Montreal Pension Plan v. Banc of Am. Secs., LLC, 685 F. Supp. 2d 456, 473

  (S.D.N.Y. 2010) (counsel cannot leave client solely in charge of document search and



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  collection), abrogated on other grounds by Chin v. Port Auth. of N.Y & N.J., 685 F.3d 135, 162

  (2d Cir. 2012); U&I Corp. v. Advanced Med. Design, Inc., 251 F.R.D. 667, 676 (M.D. Fla. 2008)

  (“[C]ounsel had the responsibility to take affirmative steps to ensure that all sources of

  discoverable information were identified, searched, and reviewed so that complete and timely

  responses to discovery requests could be provided.”); Cache La Poudre Feeds, LLC v. Land

  O’Lakes, Inc., 244 F.R.D. 614, 630 (D. Colo. 2007) (holding party improperly self-collected

  documents without counsel’s involvement).

         Fields next argues he did not know he failed to comply with the Court’s discovery orders

  until Plaintiffs told him as much on November 20, 2019. ECF No. 686, p. 3. Even if true, that

  was more than four months ago, and since then, Fields has still failed to comply. ECF No. 671,

  pp. 7, 23-24. In other words, he has known he is not in compliance for many months, but has

  failed to remedy his violations. Fields simply has no intention to participate in discovery or

  complying with the Court’s orders.

         Fields next promises the Court that the “communication problem” between Fields and his

  counsel “has been remedied.” ECF No. 686, p. 5. As an initial matter, there was no

  “communication problem” to begin with – it was just Fields’s delay and stonewall tactics. Fields

  maintained repeatedly for months that he was unable to communicate with counsel, yet he was

  able to set up a call with his counsel just two hours after Plaintiffs explained they were going to

  file this Motion. ECF No. 671, p. 8. And, if Fields is now in communication with his counsel,

  where is Fields’s discovery? Why hasn’t his attorney shown him Plaintiffs’ Second

  Interrogatories (which were due in November) and had him answer and sign them? Fields is

  simply unwilling to give Plaintiffs the discovery to which they are entitled, plain and simple.




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           In sum, Fields has no excuse for his discovery failures, and the Court should issue

  sanctions.

  II.    FIELDS SPOLIATED EVIDENCE.

         Fields’s attempt to avoid sanctions for spoliation fares no better. He admits he received

  correspondence “from Vanguard America.” ECF No. 686, p. 5. He also admits he destroyed it

  during this case. Id. Sanctions are proper for that reason alone. See ECF No. 671, pp. 10-13.

         Fields argues sanctions are improper because he destroyed the documents during his

  incarceration and after the Rally, so they could not have been “planning documents” for the

  Rally. ECF No. 686, p. 5. This only illustrates Fields’s legally insupportable, ultra-narrow and

  improperly restrictive view of responsiveness and relevance. Documents can be responsive and

  relevant even if they did not pre-date the Rally. For example, documents created after the Rally

  can still contain information about events before or during the Rally. And, documents created

  after the Rally can still serve as relevant evidence – for example, by showing an association

  between Defendants who deny knowing each other.3

         Fields argues the Vanguard Correspondence would not contradict Vanguard America’s

  claim that it never communicated with Fields because that is only the claim of its leaders, Dennis

  Hopper and Thomas Rousseau. Id., p. 5. But Fields does not identify the specific person(s) from

  Vanguard America with whom he communicated in prison (i.e., whether it was Hopper or

  Rousseau). And Fields ignores that Hopper and Rousseau were testifying as representatives of

  Vanguard America. E.g., Exhibit 1, p. 12 (“Q: Do you understand that you’re here as a



  3
    Fields claims Plaintiffs’ motion argued the Vanguard Correspondence “would ‘establish Fields
  communicated, had a relationship, and associated with Vanguard America.’” ECF No. 686, p. 6.
  In truth, Plaintiff wrote that the Vanguard Correspondence would have “related to . . .
  establishing Fields communicated, had a relationship, and associated with Vanguard America.”
  ECF No. 671, p. 20.
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  representative of Vanguard America? A: I understand that that’s what the document says,

  yes.”); Exhibit 2, p. 13 (acknowledging sitting for a deposition about “both his and Vanguard

  America’s conduct”). And Vanguard America itself denied communicating or affiliating with

  Fields. ECF No. 343, ¶ 24 (denying Fields was a member of Vanguard America); see also, e.g.,

  Exhibit 1, p. 142 (“I never received any piece of information, evidence, knowledge

  whatsoever . . . that implies that Fields was in any way associated with the organization.”);

  Exhibit 2, p. 204 (“[T]o my knowledge, James Fields never attempted to contact [Vanguard

  America].”).

         As for the other correspondence he destroyed, Fields claims the “majority” of it was hate

  mail, and that some of the documents he destroyed were “supporting letters.” In other words, he

  admits he received correspondence that concerned the Rally and Fields’s actions, but does not

  disclose the specifics of the correspondence, who it was with, or the details about its substance.

  ECF No. 686, p. 5. While Fields claims he did not know the people who sent the correspondence

  (id.), Plaintiffs have no way to test that statement. And, that does not excuse his spoliation;

  Fields claims he does not know any of the other Defendants in this case. ECF No. 671-3, pp. 8-

  11. If any of the other Defendants (or their members) communicated with Fields, that obviously

  would be relevant.

         Fields next argues the Court should not issue a jury instruction that Fields conspired with

  others to plan violence at the Rally, because “Fields’ criminal trial in Charlottesville Circuit

  Court” had no evidence of conspiracy. ECF No. 686, p. 6. In his state criminal case, however,

  Fields was charged with murder – not conspiracy. Thus, the fact that evidence of a conspiracy

  was not introduced at that trial is of no moment.




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           Fields also argues the Court should not issue the jury instruction because other planners

  of the Rally testified they never spoke to Fields. Id., p. 6. But Fields flatly contradicts himself,

  as he concedes he spoke with Vanguard America at the Rally. Id.

           Perhaps acknowledging that none of his arguments are sufficient to avoid an adverse

  inference jury instruction, Fields suggests that any adverse inference instruction should also

  instruct the jury that “all the correspondence, with the exception of Vanguard America Christmas

  cards, was unsolicited jailhouse mail received by Fields from individuals he did not know.” Id.

  There are at least two glaring flaws in that argument.

           First, there is no evidence for Fields’s self-serving conclusion. Because he destroyed the

  correspondence, he wants the jury to infer that the correspondence (other than the Vanguard

  Correspondence), was irrelevant. In other words, Fields wants to use his spoliation as a sword to

  obtain a jury inference in his favor. That is not the law.

           Second, by asserting the correspondence he destroyed was “unsolicited” and sent from

  “individuals he did not know” except for the Vanguard Correspondence, Fields’s argument

  acknowledges that, at a minimum the Vanguard Correspondence was “solicited,” and/or was sent

  from people Fields does know (but fails to identify). The fact that Fields received evidence he

  solicited and/or was sent from Vanguard America members he knew, then destroyed it and

  deprived Plaintiffs of using it during trial, is exactly why sanctions are appropriate in the first

  place.

           Accordingly, sanctions are clearly warranted here.

                                            CONCLUSION

           For the foregoing reasons, the Court should grant Plaintiffs’ Motion and impose the

  sanctions requested therein.



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  Dated: March 30, 2020                     Respectfully submitted,

                                            /s/ David E. Mills
                                            David E. Mills (pro hac vice)
                                            Joshua M. Siegel (VSB 73416)
                                            COOLEY LLP
                                            1299 Pennsylvania Ave., NW
                                            Suite 700
                                            Washington, DC 20004
                                            Telephone: (202) 842-7800
                                            Fax: (202) 842-7899
                                            dmills@cooley.com
                                            jsiegel@cooley.com

  Of Counsel:

   Roberta A. Kaplan (pro hac vice)         Karen L. Dunn (pro hac vice)
   Julie E. Fink (pro hac vice)             Jessica E. Phillips (pro hac vice)
   Gabrielle E. Tenzer (pro hac vice)       William A. Isaacson (pro hac vice)
   Joshua A. Matz (pro hac vice)            BOIES SCHILLER FLEXNER LLP
   Michael L. Bloch (pro hac vice)          1401 New York Avenue, NW
   KAPLAN HECKER & FINK LLP                 Washington, DC 20005
   350 Fifth Avenue, Suite 7110             Telephone: (202) 237-2727
   New York, NY 10118                       Fax: (202) 237-6131
   Telephone: (212) 763-0883                kdunn@bsfllp.com
   rkaplan@kaplanhecker.com                 jphillips@bsfllp.com
   jfink@kaplanhecker.com                   wisaacson@bsfllp.com
   gtenzer@kaplanhecker.com
   jmatz@kaplanhecker.com                   Alan Levine (pro hac vice)
   mbloch@kaplanhecker.com                  Philip Bowman (pro hac vice)
                                            COOLEY LLP
   Yotam Barkai (pro hac vice)              55 Hudson Yards
   BOIES SCHILLER FLEXNER LLP               New York, NY 10001
   55 Hudson Yards                          Telephone: (212) 479-6260
   New York, NY 10001                       Fax: (212) 479-6275
   Telephone: (212) 446-2300                pbowman@cooley.com
   Fax: (212) 446-2350
   ybarkai@bsfllp.com                       Robert T. Cahill (VSB 38562)
                                            COOLEY LLP
   J. Benjamin Rottenborn (VSB 84796)       11951 Freedom Drive, 14th Floor
   WOODS ROGERS PLC                         Reston, VA 20190-5656
   10 South Jefferson St., Suite 1400       Telephone: (703) 456-8000
   Roanoke, VA 24011                        Fax: (703) 456-8100
   Telephone: (540) 983-7600                rcahill@cooley.com
   Fax: (540) 983-7711
   brottenborn@woodsrogers.com

                                            Counsel for Plaintiffs


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 30, 2020, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                      John A. DiNucci
    5661 US Hwy 29                                     Law Office of John A. DiNucci
    Blairs, VA 24527                                   8180 Greensboro Drive, Suite 1150
    isuecrooks@comcast.net                             McLean, VA 22102
                                                       dinuccilaw@outlook.com
    James E. Kolenich
    Kolenich Law Office                                Counsel for Defendant Richard Spencer
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                               Bryan Jones
    jek318@gmail.com                                   106 W. South St., Suite 211
                                                       Charlottesville, VA 22902
    Counsel for Defendants Jason Kessler,              bryan@bjoneslegal.com
    Nathan Damigo, Identity Europa, Inc.
    (Identity Evropa), Matthew Parrott, and            Counsel for Defendants Michael Hill,
    Traditionalist Worker Party                        Michael Tubbs, and League of the South

    Justin Saunders Gravatt
    David L. Campbell
    Duane, Hauck, Davis & Gravatt, P.C.
    100 West Franklin Street, Suite 100
    Richmond, VA 23220
    jgravatt@dhdglaw.com
    dcampbell@dhdglaw.com

    Counsel for Defendant James A. Fields, Jr.

    William Edward ReBrook, IV
    The ReBrook Law Office
    6013 Clerkenwell Court
    Burke, VA 22015
    edward@rebrooklaw.com

    Counsel for Defendants Jeff Schoep, National
    Socialist Movement, and Nationalist Front




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          I further hereby certify that on March 30, 2020, I also served the following non-ECF
   participants, via electronic mail, as follows:

    Christopher Cantwell                         Vanguard America
    christopher.cantwell@gmail.com               c/o Dillon Hopper
                                                 dillon_hopper@protonmail.com

    Robert Azzmador Ray                          Elliott Kline a/k/a Eli Mosley
    azzmador@gmail.com                           eli.f.mosley@gmail.com
                                                 deplorabletruth@gmail.com

    Matthew Heimbach
    matthew.w.heimbach@gmail.com

                                                 /s/ David E. Mills
                                                 David E. Mills (pro hac vice)
                                                 Counsel for Plaintiffs


   222895586




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